                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                                DANVILLE DIVISION

                           CRIMINAL MINUTES – JURY TRIAL
                                              Day 12

  Case No.: 4:18CR00011-001          Date: 10/31/2019


  Defendant: Marcus Jay Davis, custody                 Counsel: Tony Anderson, Melissa
                                                       Friedman, Bev Davis - CJA



  PRESENT:      JUDGE:                Michael F. Urbanski, CUSDJ
                TIME IN COURT:        9:01-10:56; 11:29-1:17; 2:20- 3:52; 4:12-5:56 6h 59m
                Deputy Clerk:         Kristin Ayersman
                Court Reporter:       Mary Butenschoen
                U. S. Attorney:       Ron Huber, Heather Carlton, Rachel Swartz
                USPO:                 none
                Case Agent:           Devin Taylor, FBI TFO
                Interpreter:          none


                                    LIST OF WITNESSES

      GOVERNMENT                                       DEFENDANT
    1. Stevie Jermaine Johnson                    1.
    2. Detective W. R. Merrill, Danville PD
    3. Officer Kelly Shackett, Danville PD
    4. Makea Barton
    5. Devin Taylor, FBI TFO – Pittsylvania
    County Sheriff’s Department



  PROCEEDINGS:
       Government presents evidence. Jury comes in 9:07. Mr. Johnson, sworn. Cautionary
       instruction given to jury. Recess 10:56. Reconvene 11:29. Recess 1:17. Reconvene 2:20
       Cross. Redirect. Recross. Detective Merrill, sworn. Cross. Witness excused. US reads
       stipulation into record re marijuana. Officer Shackett, sworn. Cross. Witness excused.
       Ms. Barton, sworn. No cross. Witness excused. Jury recess 3:42 Dft motion re next
       witness. US responds. Dft responds. Court will review and get back with parties.
       Recess 3:52 Reconvene 4:12 Officer Taylor, sworn. Court dismisses jury for night, jury




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         to return on Tuesday 11/5 at 9am – 5:41. Court addresses counsel, puts prior conversation
         with counsel on record. Adjourn 5:56
         Defendant remanded to custody.


  Additional Information:




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